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   United States of America
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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:09-CR-00244 WBS
12                                Plaintiff,            STIPULATION AND [PROPOSED] ORDER TO
                                                        RESET STATUS CONFERENCE REGARDING
13                         v.                           RESENTENCING
14   ELIAS ALVAREZ RAMIREZ,                             DATE: July 18, 2016
                                                        TIME: 9:00 a.m.
15                               Defendant.             COURT: Hon. William B. Shubb
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for status regarding resentencing on July 18, 2016.

21          2.     By this stipulation, the parties now move to continue the status conference until July 25,

22 2016 at 9:00 a.m..

23          3.     The parties agree and stipulate, and request that the Court find the following:

24                 a)      On June 17, 2016, the Court entered an order setting this matter for a status

25          conference on July 18, 2016. ECF No. 289. The Court ordered the government to issue a writ to

26          ensure the defendant’s presence at the July 18 hearing. The defendant was then incarcerated at

27          FCI Big Spring in Big Spring, Texas.

28                 b)      On June 17, 2016, the Acting United States Attorney signed a request for


      STIPULATION AND [PROPOSED] ORDER TO RESET          1
30    STATUS CONFERENCE REGARDING RESENTENCING
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 1          production of federal prisoner, pursuant to 18 U.S.C. § 3621(d), requesting that the Bureau of

 2          Prisons and United States Marshals Service transport the defendant to court for the July 18,

 3          2016, status conference.

 4                  c)      On June 21, 2016, the government received a message from the United States

 5          Marshals Service, stating that the defendant would not arrive in this district until July 21, 2016.

 6          The parties request that the status conference previously set for July 18, 2016, be reset for July

 7          25, 2016, to provide the United States Marshals Service sufficient time to transport the defendant

 8          to court.

 9          IT IS SO STIPULATED.

10

11
     Dated: July 12, 2016                                     PHILLIP A. TALBERT
12                                                            Acting United States Attorney
13
                                                              /s/ BRIAN A. FOGERTY
14                                                            BRIAN A. FOGERTY
                                                              Assistant United States Attorney
15

16
     Dated: July 12, 2016                                     /s/ John Balazs
17                                                            John Balazs
18                                                            Counsel for Defendant
                                                              ELIAS ALVAREZ RAMIREZ
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21

22                                          FINDINGS AND ORDER

23          IT IS SO FOUND AND ORDERED.

24          Dated: July 12, 2016

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      STIPULATION AND [PROPOSED] ORDER TO RESET           2
30    STATUS CONFERENCE REGARDING RESENTENCING
